EXHIBIT 1
Transfers - Gold and Silver Traders LLC
                  Transfers $      922,853.73

                Cash
   Date      Transfers       Gold Tranfers   Silver Transfers    Platinum        Palladium      Total Metal    Total Transfers
               (USD)            (USD)             (USD)       Transfers (USD) Transfers (USD) Transfers (USD)      (USD)
 9/12/2018 $         -     $     846,126.12 $             -    $          -   $           -   $   846,126.12 $     846,126.12
 10/9/2018 $         -     $      76,727.61 $             -    $          -   $           -   $     76,727.61 $      76,727.61

       Total $        -    $     922,853.73 $            -    $         -    $          -    $    922,853.73 $     922,853.73
